                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION
                               CIVIL ACTION NO. 5:15-CV-00583-F

ADOLPHO BEASLEY, JOHNATHAN
CLARK, and CALVIN MCINTYRE,
individually and on behalf of all persons
similarly situated,
                                                       JOINT MOTION TO EXTEND
                    Plaintiffs,
                                                     DEADLINE FOR THE PARTIES TO
                                                     SUBMIT THEIR DISCOVERY PLAN
            v.

CUSTOM COMMUNICATIONS, INC.,

                    Defendant.


            COME NOW the parties, by and through their undersigned counsel, and move the Court

to extend the deadline to submit a discovery plan to the Court until such time as the Court has

ruled on Plaintiffs’ Motion to Allow Notice to Be Sent to Potential Plaintiffs Informing Them of

Their Right to Opt-In to This Case Under the Fair Labor Standards Act, 29 U.S.C. § 216(b)

(“Motion to Allow Notice”).           In support of this motion, the parties show the Court the

following:

            1.      On January 20, 2016, the Court entered an Order for Discovery Plan in this case

which required the parties to conduct a Rule 26(f) meeting on or before February 20, 2016 and to

submit a proposed discovery within fourteen days thereafter.

            2.      On February 12, 2016, Plaintiffs filed their Motion to Allow Notice and

supporting Memorandum asking the Court to facilitate Court-approved notice of the present

action to all current and former Technicians of Defendant who were classified as independent

contractors between February 12, 2013 and the present. The deadline for Defendant to respond




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to this Motion to Allow Notice is March 18, 2016. Plaintiffs will then have an opportunity to file

their Reply in support of their Motion.

            3.      Counsel for the parties conducted a Rule 26(f) meeting via teleconference on

February 18, 2016 to discuss the scope of discovery and proposed deadlines to be included in the

discovery plan. The time for the parties to submit a discovery plan pursuant to the Court’s Order

has not expired.

            4.      The parties agree that the scope of discovery, the length of the discovery period,

and the deadlines to file various motions and pretrial pleadings will depend in large part on the

Court’s decision on Plaintiffs’ Motion to Allow Notice. As such, they respectfully request that

the Court extend the time for the parties to submit their discovery plan to the Court until after the

Court has ruled on Plaintiffs’ Motion to Allow Notice.

            5.      Specifically, the parties ask the Court to modify the Order for Discovery Plan to

allow them to conduct a discovery conference within 21 days of the Court’s decision on the

Motion to Allow Notice and to submit their proposed discovery plan within 14 days after said

discovery conference.

            6.      The parties have stipulated that they will exchange their initial disclosures by or

before April 1, 2016, and that discovery shall commence immediately following the discovery

conference held following the Court’s decision.

            7.      This motion is made in good faith and not for the purpose of delay.

            WHEREFORE, the parties respectfully move the Court for an Order allowing them to

conduct a discovery conference within 21 days of the Court’s decision on the Motion to Allow

Notice and to submit their proposed discovery plan within 14 days after said discovery

conference.




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Dated: March 2, 2016

                                          Respectfully submitted,

BERGER & MONTAGUE, P.C.                   WOOLF, MCCLANE, BRIGHT, ALLEN &
                                          CARPENTER

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